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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION

      GEMALTO S.A.,                                          §
                                                             §
             Plaintiff,                                      §
                                                             §
      vs.                                                    §        CASE NO. 6:10-CV-561 LED-JDL
                                                             §
      HTC CORPORATION, et al.,                               §
                                                             §
             Defendants.                                     §
                                                             §

                                MEMORANDUM OPINION AND ORDER

            This claim construction opinion construes the disputed claim terms in U.S. Patent Nos.

  6,308,317 (“the ‘317 patent”); 7,117,485 (“the ‘485 patent”); and 7,818,727 (“the ‘727 patent”)1

  (collectively, the “patents-in-suit”). The patents-in-suit all share the same title, “Using a High

  Level Programming Language with a Microcontroller.” On May 3, 2012, the Court held a claim

  construction hearing to construe the disputed terms. For the reasons stated herein, the Court

  adopts the constructions set forth below.

                                      OVERVIEW OF THE PATENTS

            The patents-in-suit are generally directed towards methods of implementing a high level

  programming language such as Java on resource constrained devices such as smartcards. The

  patents-in-suit disclose a method of compiling Java source code such that the Java Card applet

  uses less byte code than a traditional Java applet. This process conserves memory, which is a

  necessity of operating in resource constrained devices like smartcards. The patents describe a

  Java application with Java source code files that are compiled to produce application class files.

  1
   The ‘727 patent is a continuation of the ‘485 patent which is a continuation of the ‘317 patent, which claims
  priority to U.S. provisional application ser. No. 60/029,057.


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  These application class files are then fed into a card class file converter, which consolidates and

  compresses the files to produce a single class file, which is then loaded to the smart card

  microcontroller. In other words, the patents-in-suit teach a method for converting Java byte

  codes into byte codes that minimize the computing resources consumed by the application and

  the Java Virtual Machine so that the application can run within the constrained environment of a

  smartcard. Claim 1 of the ‘317 patent is representative of the asserted claims:

         An integrated circuit card for use with a terminal, comprising:
                a communicator configured to communicate with the terminal;
                a memory storing:
                        an application derived from a program written in a high level
                        programming language format wherein the application is derived
                        from a program written in a high level programming language
                        format by first compiling the program into a compiled form and
                        then converting the compiled form into a converted form, the
                        converting step comprising:
                        recording all jumps and their destinations in the original byte
                        codes;
                                performing a conversion operation selected from the group:
                                converting specific byte codes into equivalent generic byte
                                codes; modifying byte code operands from references using
                                identifying strings to references using unique identifiers;
                                and
                                renumbering byte codes in the compiled form to equivalent
                                byte codes in an instruction set supported by an interpreter
                                on the integrated circuit card; and
                                relinking jumps for which the destination address is
                                affected by the conversion operation; and
                        an interpreter operable to interpret such an application derived
                        from a program written in a high level programming language
                        format; and
                a processor coupled to the memory, the processor configured to use the
                interpreter to interpret the application for execution and to use the
                communicator to communicate with the terminal.

                            CLAIM CONSTRUCTION PRINCIPLES

         “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention

  to which the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303,

  1312 (Fed. Cir. 2005) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc.,

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  381 F.3d 1111, 1115 (Fed. Cir. 2004)). The Court examines a patent’s intrinsic evidence to

  define the patented invention’s scope. Id. at 1313-1314; Bell Atl. Network Servs., Inc. v.

  Covad Commc’ns Group, Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). Intrinsic evidence

  includes the claims, the rest of the specification and the prosecution history. Phillips, 415 F.3d at

  1312-13; Bell Atl. Network Servs., 262 F.3d at 1267. The Court gives claim terms their ordinary

  and customary meaning as understood by one of ordinary skill in the art at the time of the

  invention. Phillips, 415 F.3d at 1312-13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361,

  1368 (Fed. Cir. 2003).

         Claim language guides the Court’s construction of claim terms. Phillips, 415 F.3d at

  1314. “[T]he context in which a term is used in the asserted claim can be highly instructive.” Id.

  Other claims, asserted and unasserted, can provide additional instruction because “terms are

  normally used consistently throughout the patent.” Id.        Differences among claims, such as

  additional limitations in dependent claims, can provide further guidance. Id.

         “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id.

  (quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995)). “[T]he

  specification ‘is always highly relevant to the claim construction analysis.          Usually, it is

  dispositive; it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics

  Corp.v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex. Inc. v. Ficosa N.

  Am. Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002). In the specification, a patentee may define

  his own terms, give a claim term a different meaning that it would otherwise possess, or disclaim

  or disavow some claim scope. Phillips, 415 F.3d at 1316. Although the Court generally

  presumes terms possess their ordinary meaning, this presumption can be overcome by statements

  of clear disclaimer. See SciMed Life Sys., Inc. v. Advanced Cardiovascular Sys., Inc., 242 F.3d



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  1337, 1343-44 (Fed. Cir. 2001). This presumption does not arise when the patentee acts as his

  own lexicographer. See Irdeto Access, Inc. v. EchoStar Satellite Corp., 383 F.3d 1295, 1301

  (Fed. Cir. 2004).

         The specification may also resolve ambiguous claim terms “where the ordinary and

  accustomed meaning of the words used in the claims lack sufficient clarity to permit the scope of

  the claim to be ascertained from the words alone.” Teleflex, Inc., 299 F.3d at 1325. For example,

  “[a] claim interpretation that excludes a preferred embodiment from the scope of the claim ‘is

  rarely, if ever, correct.” Globetrotter Software, Inc. v. Elam Computer Group Inc., 362 F.3d

  1367, 1381 (Fed. Cir. 2004) (quoting Vitronics Corp., 90 F.3d at 1583). But, “[a]lthough the

  specification may aid the court in interpreting the meaning of disputed language in the claims,

  particular embodiments and examples appearing in the specification will not generally be read

  into the claims.” Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir.

  1988); see also Phillips, 415 F.3d at 1323.

         The prosecution history is another tool to supply the proper context for claim

  construction because a patentee may define a term during prosecution of the patent. Home

  Diagnostics Inc. v. LifeScan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the

  specification, a patent applicant may define a term in prosecuting a patent”).        The well-

  established doctrine of prosecution disclaimer “preclud[es] patentees from recapturing through

  claim interpretation specific meanings disclaimed during prosecution.” Omega Eng’g Inc. v.

  Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). The prosecution history must show that

  the patentee clearly and unambiguously disclaimed or disavowed the proposed interpretation

  during prosecution to obtain claim allowance. Middleton Inc. v. 3M Co., 311 F.3d 1384, 1388

  (Fed. Cir. 2002). “Indeed, by distinguishing the claimed invention over the prior art, an



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  applicant is indicating what the claims do not cover.” Spectrum Int’l v. Sterilite Corp., 164 F.3d

  1372, 1378-79 (Fed.      Cir.   1988) (quotation omitted).      “As a basic principle of claim

  interpretation, prosecution disclaimer promotes the public notice function of the intrinsic

  evidence and protects the public’s reliance on definitive statements made during prosecution.”

  Omega Eng’g, Inc., 334 F.3d at 1324.

         Although, “less significant than the intrinsic record in determining the legally operative

  meaning of claim language,” the Court may rely on extrinsic evidence to “shed useful light on

  the relevant art.” Phillips, 415 F.3d at 1317 (quotation omitted). Technical dictionaries and

  treatises may help the Court understand the underlying technology and the manner in which one

  skilled in the art might use claim terms, but such sources may also provide overly broad

  definitions or may not be indicative of how terms are used in the patent. Id. at 1318. Similarly,

  expert testimony may aid the Court in determining the particular meaning of a term in the

  pertinent field, but “conclusory, unsupported assertions by experts as to the definition of a claim

  term are not useful.” Id. Generally, extrinsic evidence is “less reliable than the patent and its

  prosecution history in determining how to read claim terms.” Id.

         The patent in suit may contain means-plus-function limitations that require construction.

  Where a claim limitation is expressed in means-plus-function language and does not recite

  definite structure in support of its function, the limitation is subject to 35 U.S.C. § 112 ¶ 6.

  Braun Med., Inc. v. Abbott Labs., 124 F.3d 1419, 1424 (Fed. Cir. 1997). In relevant part, § 112

  mandates that “such a claim limitation be construed to cover the corresponding structure . . .

  described in the specification and equivalents thereof.” Id. (citing 35 U.S.C. § 112 ¶ 6. ).

  Accordingly, when faced with means-plus-function limitations, courts “must turn to the written




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  description of the patent to find the structure that corresponds to the means recited in the

  [limitations].” Id.

           Construing a means-plus-function limitation involves two inquiries.                        The first step

  requires “a determination of the function of the means-plus-function limitation.” Medtronic, Inc.

  v. Advanced Cardiovascular Sys., Inc., 248 F.3d 1303, 1311 (Fed. Cir. 2001). Once a court has

  determined the limitation’s function, “the next step is to determine the corresponding structure

  disclosed in the specification and equivalents thereof.”                  Medtronic, 248 F.3d at 1311.              A

  structure is corresponding “only if the specification or prosecution history clearly links or

  associates that structure to the function recited in the claim.” Id. Moreover, the focus of the

  corresponding structure inquiry is not merely whether a structure is capable of performing the

  recited function, but rather whether the corresponding structure is “clearly linked or associated

  with the [recited] function.” Id.

                                               DISCUSSION

  I.       Hardware Terms

           a. microcontroller2

        Plaintiff’s Proposed Construction                            Defendants’ Proposed Construction
  a device designed specifically for embedded                   a single semiconductor substrate or integrated
  applications that includes a central processing               circuit designed specifically for embedded
  unit, memory and other functional elements on                 applications that includes a central processing
  a single semiconductor substrate, or integrated               unit, memory and other functional elements,
  circuit                                                       and that does not require external memory to
                                                                function properly; not a microprocessor

           There are two key disputes with regards to the “microcontroller” term: (1) to what extent

  a microcontroller may access external memory and (2) whether the preamble of claim 1 of the

  ‘485 patent3 is limiting.

  2
   The term “microcontroller” is found in the ’317 patent at claims 58, 59, 62, 63, 65-69, 73, 75, 77-79, 81, 87-89, 91,
  and 92; and the ‘485 patent at claims 1, 2, 6-11, 14, 16, 18, 20-22, and 25.


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           i. Court’s Construction of Microcontroller

           The parties agree that a microcontroller includes a central processing unit, memory, and

  other functional elements on a single semiconductor substrate or integrated circuit. See, e.g.,

  PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF (Doc. No. 163) (“PLAINTIFF’S BRIEF “) at 13;

  DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF (Doc. No. 180) (“RESPONSE”) at 6. At

  the Claim Construction Hearing, the Court proposed that “microcontroller” should be construed

  as “a single semiconductor substrate integrating electronic circuit components that includes a

  central processing unit and all program memory making it suitable for use as an embedded

  system.” Although Defendants originally proposed a construction that included language

  defining “microcontroller” as “not a microprocessor,” Defendants agreed at the Claim

  Construction Hearing that the Court’s proposed construction was proper.                                  MARKMAN

  TRANSCRIPT at 22:11-13.

           Plaintiff contends that the specification defines “microcontroller” as “including a central

  processing unit, memory, and other functional elements, all on a single semiconductor substrate

  or integrated circuit (e.g., a ‘chip’).” ‘317 patent at 2:2-5. Further, Plaintiff argues that the

  “specification affirmatively states a microcontroller requires external components: ‘[d]ue to the

  small number of external components required and their small size, microcontrollers . . . .’”

  PLAINTIFF’S BRIEF at 14 (quoting ‘317 patent at 2:35-36) (alterations as in PLAINTIFF’S BRIEF).

  Thus, for Plaintiff, a microcontroller need not house “all program memory” because a

  microcontroller is required to have external components.



  3
    In its briefing, Plaintiff argues that the preamble of Claim 7 of the ‘485 patent should not be limiting. PLAINTIFF’S
  BRIEF at 13 n.6. However, at the Claim Construction Hearing, the parties agreed the preamble of claim 7 of the
  ‘485 patent is not limiting but disputed whether the preamble of claim 1 of the ‘485 patent is limiting. See CLAIM
  CONSTRUCTION HEARING TRANSCRIPT (Doc. No. 214) (“MARKMAN TRANSCRIPT”) at 76.


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         The Court finds that while microcontrollers may access external components as argued

  by Plaintiff, all program memory necessary for execution of the compressed application must be

  located on the microcontroller. This construction finds support both in the specification and the

  extrinsic evidence cited by both parties. Looking first to the specification, the patents-in-suit

  teach that unlike microprocessors, microcontrollers have limited access to memory:

         Microcontrollers differ from microprocessors in many ways. For example, a
         microprocessor typically has a central processing unit that requires certain
         external components (e.g., memory, input controls and output controls) to
         function properly. A typical microprocessor can access from a megabyte to a
         gigabyte of memory, and is capable of processing 16, 32, or 64 bits of information
         or more with a single instruction. In contrast to the microprocessor, a
         microcontroller includes a central processing unit, memory and other functional
         elements, all on a single semiconductor substrate, or integrated circuit (e.g., a
         “chip”). As compared to the relatively large external memory accessed by the
         microprocessor, the typical microcontroller accesses a much smaller memory. A
         typical microcontroller can access one to sixty-four kilobytes of built-in memory,
         with sixteen kilobytes being common.

  ‘317 patent at 1:62 – 2:10 (emphasis added); see also id. at 2:26-34 (noting that because of the

  physical characteristics of a microcontroller being located on a single “chip,” it has considerably

  less memory than a microprocessor); id. at 2:14-16 (“In a microcontroller, the amount of each

  kind of memory available is constrained by the amount of space on the integrated circuit used for

  each kind of memory”).

         Additionally, the specification teaches that prior to the ‘317 patent, Java platforms

  generally operated on “microprocessor-based computers, with access to relatively large amounts

  of memory and hard disc storage space.” 317 patent at 1:55-57. The patentee addressed the

  problem of fitting the operating system, application code, and a Java Virtual Machine to interpret

  the Java byte codes into machine code on the microcontroller. PLAINTIFF’S BRIEF at 3. Indeed,

  the CEO of Sun Microsystems, the creator of the Java programing language, characterized the

  problem as “fitting Java technology inside smartcards was like playing golf in a phone booth.”


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  EX. B TO PLAINTIFF’S BRIEF, JAVACARD TECHNOLOGY GROWS UP SMART, (DOC. NO. 163-3);

  PLAINTIFF’S BRIEF at 3. Thus, an interpretation of microcontroller that permits access to off chip

  memory would eviscerate the distinction between operating high level programming language on

  an integrated circuit card or microcontroller and the “conventional platforms” that existed at the

  time of the invention.

         This understanding is further supported by arguments made in the prosecution history.

  The applicants repeatedly distinguished between existing microprocessor systems that had the

  ability to run high level languages at the time of the invention and microcontrollers such as

  smartcards or integrated circuit cards. For example, in their appeal brief to the Board of Patent

  Appeals and Interferences, the applicants conceded that the steps to compile and run Java were

  well known in the prior art. See Ex. E to RESPONSE (Doc. No. 180-5) (“‘485 PROSECUTION

  HISTORY”) at GEM3763. However, “[a]t the time of the invention, the typical Java Virtual

  Machine required over 1MB of memory.” Id. at GEM3766. In contrast, a typical microcontroller

  at the time of filing only had approximately 0.1 to 2.0 KB of RAM, 2 to 8KB of EEPROM, and 8

  to 56K ROM. ‘317 patent at 2:26-34. Moreover, the patentee highlighted this distinction in

  arguments made to the Patent Office during the Reexamination of the ‘317 patent:

         …[U]sing Java as an example, providing Java technology onto smart cards would
         be very challenging due to the size constrains of smart cards as constrained to the
         minimum requirements of Java. The Java run time environment, the JRE,
         requires a system that has a minimum 32 MB of memory, 125 of free disk space.
         However, in 1996 smart cards only had 512 bytes, not kilobytes or megabytes,
         just 512 bytes of RAM and 4K bytes of EEPPROM.

  EX. G. to RESPONSE (Doc. No. 180-7) (“REEXAM EXERPTS”) at GEM4515. Thus, for the

  patentee, one of the key aspects of the invention disclosed in the patents-in-suit is its ability to

  operate in an environment with a finite amount of memory.




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            Lastly, interpreting “microcontroller” to require all program memory to be located on the

   chip is supported by the extrinsic evidence. Plaintiff’s own evidence, The Microcontroller Idea

   Book, explains that a microcontroller is limited by the amount of memory it can hold:

            To make a complete computer, a microprocessor requires memory for storing data
            and programs, and input/output (I/P) interfaces for connecting external devices
            like keyboards and displays.

            In contrast, a microcontroller is a single-chip computer because it contains
            memory and I/O interfaces in addition to the CPU. Because the amount of
            memory and interfaces that can fit on a single chip is limited, microcontrollers
            tend to be used in smaller systems that require little more than the microcontroller
            and a few support components.

   JAN AXELSON, THE MICROCONTROLLER IDEA BOOK 2 (1997) (Doc.                                           No.      163-13)

   (“MICROCONTROLLER IDEA BOOK”).

            Plaintiff argues that the specification and extrinsic evidence show that “microcontrollers

   may use external memory.” See PLAINTIFF’S BRIEF at 14 (quoting ‘317 patent at 2:35-36) (“In

   fact the specification affirmatively states a microcontroller requires external components: ‘[d]ue

   to the small number of external components required and their small size, microcontrollers …”);

   PLAINTIFF’S REPLY TO DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF (Doc. No. 189)

   (“REPLY”) at 3. The Court’s construction does not, however, prevent a microcontroller from

   accessing any external memory. Under the Court’s construction, a microcontroller need only

   possess sufficient memory to run the Java code4 in accordance with the patentee’s invention. For

   example, a microcontroller may access off chip memory to store and retrieve data stored in a

   “static RAM.” See REPLY at 3 (citing Ex. BB, THE MICROCONTROLLER IDEA BOOK, at 24).5

   4
    The Court uses “Java code” throughout the opinion only as an example of a high level programming language
   implemented on the microcontroller and does not intend to limit the claims to only Java embodiments.
   5
    Plaintiff also relies heavily on various unrelated patents that describe “microcontroller.” See PLAINTIFF’S BRIEF at
   14 n.8. In construing “microcontroller,” the Court has considered these references, but nevertheless finds that a
   person having ordinary skill in the art would interpret “microcontroller” as written in the ‘317 patent and its progeny
   as described above.

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   Furthermore, Plaintiff’s arguments that the specification qualifies its description of

   microcontrollers as only “typical” microcontrollers and therefore should not limit

   microcontroller is similarly unavailing. As explained above, neither the specification nor the

   extrinsic record supports the conclusion that a microcontroller can function with program

   memory located off chip.

          In conclusion, the Court construes “microcontroller” as “a single semiconductor substrate

   integrating electronic circuit components that includes a central processing unit and all program

   memory making it suitable for use as an embedded system.”

          ii. The Preamble of Claim 1 of the ‘485 Patent is Limiting

           Defendants argue that the preamble of claim 1 of the ‘485 patent is limiting. See

   RESPONSE at 10; MARKMAN TRANSCRIPT at 76:16-22. Generally, a preamble is considered

   limiting when it “recites essential structure or steps, or if it is ‘necessary to give life, meaning

   and vitality to claims or counts.’” Catalina Marketing Int’l. v. Coolsavings.com, Inc., 289 F.3d

   801, 808 (Fed. Cir. 2002) (quoting Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298,

   1309 (Fed. Cir. 1999)); Kropa v. Robie, 187 F.2d 150, 1952 (C.C.P.A. 1951). Moreover,

   “clear reliance on the preamble during prosecution to distinguish the claimed invention from the

   prior art transforms the preamble into a claim limitation because such reliance indicates use of

   the preamble to define, in part, the claimed invention.” Catalina Marketing Int’l, 182 F.3d at

   808. However, “a preamble is not limiting ‘where a patentee defines a structurally complete

   invention in the claim body and uses the preamble only to state a purpose or intended use for the

   invention.’” Id. (quoting Rowe v. Dror, 112 F.3d 473, 478 (Fed. Cir. 1997)).

          As explained above in the context of the Court’s construction of “microcontroller,” the

   patentee repeatedly emphasizes in both the specification and the prosecution history, that a key



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   aspect of the invention was the ability to fit a “high level programming language” such as Java

   on resource constrained devices such as a “microcontroller.” See, e.g., ‘485 PROSECUTION

   HISTORY at GEM3725 (“Applicants recognized the difficulty in operating Java (or other high

   level language) programs within the limited resources of an integrated circuit card or other

   microcontroller”). Thus, the Court finds that the term “microcontroller” as used in the preamble

   of claim 1 of the ‘485 patent breathes life and meaning into the claim and is therefore limiting.

             b. integrated circuit card6

        Plaintiff’s Proposed Construction            Defendants’ Proposed Construction
   an integrated circuit containing a central a card containing a central processing unit,
   processing unit, memory and other functional memory and other functional elements, all on a
   elements on a base                           single semiconductor substrate or integrated
                                                circuit, that does not require external memory
                                                to function properly; not a microprocessor
                                                system; OR a card containing a microcontroller

             The essential dispute between the parties is whether the “integrated circuit card” must

   contain all program memory and whether the integrated circuit card is a “card” or can also be a

   “base.” At the Claim Construction Hearing, the Court proposed “a card containing a single

   semiconductor substrate having a central processing unit and all program memory.” Defendants

   agreed with the Court’s construction; however, Plaintiff objected based on the Court’s inclusion

   of the “all program memory” limitation and the Court’s limiting of “integrated circuit card” to a

   “card.”

             First, Plaintiff’s arguments regarding “all program memory” are essentially the same as

   they were in the context of “microcontroller.” The Court rejects Plaintiff’s arguments for the

   reasons discussed above. Further, the specification discloses an “integrated circuit card” that

   “includes a communicator and a memory that stores an interpreter and first instructions of a first

   6
     The term “integrated circuit card” is found in the ’317 patent at claims 1, 4-11, 13-15, 22, 24, 25, 30, 31, 55, 64,
   84-86, 93, & 94; and the ‘485 patent at claims 38, 39, 40, 42, and 43.


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   application.” ‘317 patent at 5:31-33. The integrated circuit card also “includes a processor that is

   coupled to the memory and is configured to use the interpreter to execute the first instructions to

   communicate with the terminal via the communicator.” Id. at 5:36-40. Thus, the integrated

   circuit card contains the memory necessary to execute the condensed high level program.

          Second, Plaintiff seeks to read the word “card” out of the claims by interpreting

   “integrated circuit card” as “an integrated circuit . . . on a base.” The plain language of the term

   “integrated circuit card” requires a “card.” This is supported by the specification which

   repeatedly refers to an integrated circuit card as a “card.” See, e.g., ‘317 patent at 18:62 – 19:4

   (“Fig. 21 shows an integrated circuit card, or smart card, which includes a microcontroller 210

   that is mounted to a plastic card 212. The plastic card 212 has approximately the same form

   factor as a typical credit card”); id. at 2:35-41 (noting that “microcontrollers frequently are used

   in integrated circuit cards, such as smart cards” and that these include both “contact-based” and

   “contactless cards”); id. at 2:55-60 (integrated circuit cards include “debit cards”); id. at 7:57-59

   (“In some embodiments, the microcontroller, memory and communicator are embedded in a

   plastic card that has substantially the same dimensions as a typical credit card”).

          Plaintiff argues that an integrated circuit card need not be a card at all, but may be a

   “base.” Plaintiff relies on the following portion of the specification to support its conclusion that

   an integrated circuit card may actually be a “base” rather than a “card:”

          In some embodiments, the microcontroller, memory and communicator are
          embedded in a plastic card that has substantially the same dimensions as a typical
          credit card.     In other embodiments, the microcontroller, memory and
          communicator are mounted within bases other than a plastic card, such as jewelry
          (e.g., watches, rings or bracelets), automotive equipment, telecommunication
          equipment (e.g., subscriber identity module (SIM) cards), security devices (e.g.,
          cryptographic modules) and appliances.

   ‘317 patent at 7:57-65. Specifically, Plaintiff argues that “[t]he elements of an integrated circuit

   card do not have to be mounted on a plastic card or in the case of a microcontroller a single

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   semiconductor substrate: ‘[i]n other embodiments, … mounted within bases other than a plastic

   card.’” PLAINTIFF’S BRIEF at 16 (quoting ‘317 patent at 7:59-62) (alterations within quotation in

   original).   However, as Defendants point out, when read in context with the surrounding

   language, this portion of the specification merely shows that microcontrollers can be used in

   embodiments not “embedded in a plastic card.” Thus, while a microcontroller may be mounted

   on other surfaces, this portion of the specification does little to persuade the Court that an

   “integrated circuit card” need not be a “card.” Rather, an “integrated circuit card” must have its

   components on a single semiconductor substrate. See ‘317 patent at 2:35-37 (“Due to the small

   number of external components required and their small size, microcontrollers frequently are

   used in integrated circuit cards, such as smart cards”).

           Lastly, Plaintiff argued at the Claim Construction Hearing that an “integrated circuit

   card” is intended to be broader than simply a “microcontroller.” In support, Plaintiff points to

   portions of the specification that generally describe an “integrated circuit card” as including a

   “processor that is coupled to the memory” and including “other functional elements.” See, e.g.,

   ‘317 patent at 5:36-40. In other words, Plaintiff argues that an “integrated circuit card” is merely

   a base with a processor on it. However, Plaintiff concedes in its opening claim construction brief

   that the “Integrated Circuit Card Claims . . . narrowly refer to a specific type of device that

   includes a microcontroller and can use high level programming language – i.e., an integrated

   circuit card, as shown in the embodiment in Figure 21.” PLAINTIFF’S BRIEF at 27-28 (citing ‘317

   patent at 18:65 – 19:4); see also ‘317 patent at Fig. 21 (depicting an integrated circuit card as a

   “card”); PLAINTIFF’S BRIEF at 28 (“The prosecution history shows that the ‘317 patent was

   always prosecuted as including two classes of claims: a broad set directed to microcontrollers on

   devices generally, and a narrower set directed to microcontrollers on integrated circuit cards



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   specifically”). Accordingly, the Court rejects Plaintiff’s invitation to construe “integrated circuit

   card” broadly and construes “integrated circuit card” as “a card containing a single

   semiconductor substrate having a central processing unit and all program memory.”

              c. programmable device7

         Plaintiff’s Proposed Construction             Defendants’ Proposed Construction
   This term does not need construction. To the integrated circuit card or other device
   extent that the term is construed, it should be controlled by a microcontroller; not a
   given its plain and ordinary meaning, such as: microprocessor-based system
   a device that can execute a computer program

              At the Claim Construction Hearing, the Court suggested that “programmable device”

   should be construed the same way as “microcontroller,” i.e., a programmable device is “a single

   semiconductor substrate integrating electronic circuit components that includes a central

   processing unit and all program memory making it suitable for use as an embedded system.”

   Defendants agreed with the Court’s proposed construction; however, Plaintiff argued that a

   “programmable device” is “a device that can execute a computer program.” For the reasons

   stated below, the Court adopts its proposed construction.8

              Plaintiff’s chief argument is that while the specification may describe microcontrollers

   rather than broader “programmable devices,” the patentee was permitted to claim the genus of

   “programmable devices” of which “microcontroller” is a species. PLAINTIFF’S BRIEF at 16-17.

   Thus, for Plaintiff, “[t]he invention disclosed relates to conversion of byte codes and the

   invention is applicable to other programmable devices, not just the preferred embodiment” such

   as microcontrollers. PLAINTIFF’S BRIEF at 17. To support this argument, Plaintiff relies on

   Federal Circuit case law interpreting 28 U.S.C. § 112, the written description requirement.

   7
       The term “programmable device” is found in the ‘727 patent at claims 1-7, 10, 12, 14, and 16-18.
   8
    The parties also dispute whether the preamble of claim 3 of the ‘727 patent is limiting. For the same reasons
   discussed in the context of “microcontroller,” the Court finds the preamble of the ‘727 patent limiting.


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   While Plaintiff may be correct that “disclosure of a species may be sufficient written description

   support for a later claimed genus including that species,” that argument presupposes that a

   person having ordinary skill in the art would understand “programmable device” in light of the

   specification as broader than “microcontroller.” PLAINTIFF’S BRIEF at 16-17; REPLY at 5.

          Because “programmable device” is not a term of art and has no plain and ordinary

   meaning, it is particularly important to construe the term in the context of the intrinsic record.

   See Network Commerce, Inc. v. Microsoft Corp., 422 F.3d 1353, 1360-61 (Fed. Cir. 2005).

   While in the abstract, a “programmable device” may simply be a device that can execute a

   computer program as argued by Plaintiff, the specification does not support such a broad

   disclosure.   Although the specification does not use the term “programmable device,” the

   patents-in-suit contemplate a microcontroller that has the ability to be “programmed” using a

   high level language:

          In other embodiments, the above-described techniques are used with a
          microcontroller (such as the processor 12) [sic] may control devices (e.g., part of
          an automobile engine) other than an integrated circuit card. In these applications,
          the microcontroller provides a small platform (i.e., a central processing unit, a
          memory, both of which are located on a semiconductor substrate) for storing and
          executing high level programming languages. Most existing devices and new
          designs that utilize a microcontroller could use this invention to provide the
          ability to program the microcontroller using a high level language, and application
          of this invention to such devices is specifically included.

   ‘317 patent at 18:31-42 (emphasis added). Furthermore, as explained above in the context of

   “microcontrollers” and “integrated circuit cards,” the patentee repeatedly distinguished the

   invention from high level programming language operating on traditional microprocessors.

   Thus, “programmed device” must be narrower than simply a “device that can execute a computer

   program.” Because “programmable device” is not a term of art, the only embodiments disclosed

   in the patents-in-suit use microcontrollers, and the patentee repeatedly distinguished the



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   invention from generic microprocessors, the Court finds that a “programmable device” is a

   “microcontroller.” Accordingly, the Court construes “programmable device as “a single

   semiconductor substrate integrating electronic circuit components that includes a central

   processing unit and all program memory making it suitable for use as an embedded system.”

            d. “resource constraints”9

         Plaintiff’s Proposed Constructions        Defendants’ Proposed construction
   “computing resources that are limited when Indefinite
   compared       to    conventional  computing
   platforms, such as microprocessor-based
   desktop and personal computers”
   Alternatively, “limits on computing resources
   imposed by the physical characteristics of the
   device”
   Alternatively,     “insufficient      computing
   resources to run the application in the compiled
   form more efficiently than in a converted
   form”
   Alternatively, “a fixed amount of memory
   and/or processing resources on the device”
   Alternatively, “computing resources that are
   limited as compared to typical desktop
   computers.”

            Over the course of the claim construction process, Plaintiff has proposed no less than five

   different constructions for the term “resource constraints.” Defendants, on the other hand, have

   consistently argued that the phrase is indefinite. For the reasons set forth below, the Court

   rejects Plaintiff’s proposals and construes the phrase “a set of resource constraints” as

   “insufficient memory to run the compiled application source program in an unconverted form.”

            i. Plaintiff’s Proposals


   9
    The term “resource constraints” is found in the ‘317 patent at claims 65, 78, 91 & 92; the ‘485 patent at claims 7
   & 21; and the ‘727 patent at claims 3 & 17.


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          In its initial claim construction briefing, Plaintiff argued that “resource constraints”

   should be construed as “computing resources that are limited when compared to conventional

   computing platforms, such as microprocessor-based desktop computers.” See PLAINTIFF’S BRIEF

   at 17. In response to Plaintiff’s initial construction, Defendants countered that “[o]ne of ordinary

   skill would not know what ‘limited computing resources’ means, which resources should be

   compared to those of ‘conventional’ computing platforms, or how many resources would avoid

   the ‘resource constraints’ limitations.” RESPONSE at 16-17. Defendants also criticized Plaintiff’s

   proposal on the grounds that the scope changes over time, i.e., it is “based on how one of

   ordinary skill in the art would understand memory constraints by comparison to ‘conventional

   computing platforms’ today.” Id.

          In response, Plaintiff stated “[u]pon review of Defendants’ briefing, Gemalto better

   understood why Defendants asserted confusion as to the original construction – making

   assessments at different times and the use of labels (e.g., ‘personal computer’) can lead to

   complexities.” PLAINTIFF’S OPPOSITION TO MSJ OF INVALIDITY FOR INDEFINITENESS (Doc. No.

   191) (“RESPONSE TO MSJ”) at 2. Accordingly, Plaintiff proposed an alternative construction for

   resource constraints: “limits on computing resources imposed by the physical characteristics of

   the device.” Id. at 3. Again, Defendants argued that Plaintiff’s proposal was ambiguous.

   Specifically, Defendants argued that one of ordinary skill in the art would not know “why

   ‘physical characteristics’ such as size should be considered to evaluate ‘limits on computing

   resources,’ or even which ‘device’ matters for purposes of ‘resource constraints.’”

   DEFENDANTS’ REPLY      IN   SUPPORT   OF   MSJ   OF INVALIDITY FOR INDEFINITENESS   (Doc. No. 201)

   (“MSJ REPLY”) at 2.         Defendants also argued that the specification focuses on resource

   constrained “integrated circuits,” not generic “devices” as Plaintiff asserts. Id. at 2. Moreover,



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   because the Plaintiff advanced an alternative claim construction based on previously undisclosed

   expert testimony, the Court permitted Defendants to depose Plaintiff’s expert and submit a

   supplemental brief based on the expert’s deposition. See APRIL 30, 2012 ORDER (Doc. No. 199);

   DEFENDANTS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MSJ (Doc. No. 234) (“SUPP. MSJ BRIEF”);

   PLAINTIFF GEMALTO S.A.’S RESPONSE TO DEFENDANTS’ SUPP. BRIEF (Doc. No. 237) (“RESPONSE

   TO SUPP. MSJ BRIEF”).

          After the Claim Construction Hearing, and at the behest of the Court, Plaintiff filed a

   supplemental brief putting forth an additional alternative construction, arguing that “resource

   constraints” should be construed as “a fixed amount of memory and/or processing resources on

   the device.” See PLAINTIFF’S SUPPLEMENTAL CLAIM CONSTRUCTION BRIEF (Doc. No. 248)

   (“SUPP. CC BRIEF”) at 2. Plaintiff included yet another proposal, partly returning to its original

   construction, arguing that “resource constraints” should be construed as “computing resources

   that are limited as compared to typical desktop computers.” Id. Despite its earlier proposals,

   Plaintiff requests the Court to adopt one of these two constructions. RESPONSE     TO   SUPP. MSJ

   BRIEF at 2. However, both proposals are flawed because they fail to adequately define the metes

   and bounds of the term.

          Plaintiff’s first final alternative construction, “a fixed amount of memory and/or

   processing resources on the device” is more ambiguous than the term it seeks to define. Plaintiff

   argues that unlike microprocessor based platforms such as desktop computers, microcontroller

   based platforms are not “expandable,” meaning that additional memory or a faster processor may

   not be easily added. SUPP. CC BRIEF at 1. However, Plaintiff’s proposal provides no explanation

   as to what it means for “memory and/or processing resource” to be “fixed.” The ambiguity is

   highlighted by a series of hypothetical question posed by Defendants:



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           What does it mean for ‘memory and/or processing resources to be fixed? Is it
           memory or speed when shipped? Does it mean memory or speed cannot be
           improved? If a user can increase memory on a smartphone with a microSD card,
           is the memory not ‘fixed’? Also, what is the ‘device’ to look to? Is it the
           microcontroller itself or what device the microcontroller may be mounted in?

   RESPONSE    TO   SUPP. CC BRIEF at 3 n.3. Moreover, this proposal improperly focuses on the

   physical characteristics of an unidentified device at the exclusion of the application/execution

   environment.       As will be explained in more detail below in the context of the Court’s

   construction, the patentee described the “constraints” of various platforms in relation to

   executing high level programming language such as Java.

           Plaintiff’s second final alternative construction, “computing resources limited as

   compared to typical desktop computers,” is flawed by Plaintiff’s own admission. See RESPONSE

   TO   MSJ at 2 (noting that “making assessments at different times and the use of labels (e.g.,

   ‘personal computer’) can lead to complexities” and confusion); see also MARKMAN TRANSCRIPT

   at 60:3-9 (“In our initial construction, we said, limits on computing resources as compared to a

   desktop computer or a personal computer. And the – and the defendants pointed out, and I think

   rightfully so, that while that is typically the case you’re putting labels on something. What is a

   desktop computer, what is a personal computer as your comparison point”). Like Plaintiff’s

   initial proposed construction, which Plaintiff concedes utilizes ambiguous comparison points,

   Plaintiff’s second final alternative construction relies on the “label” of “typical desktop

   computers.”

           Furthermore, as Defendants’ point out, the point of comparison is ambiguous because “at

   any given time, desktop computers, cell phones, smart phones, laptops, and tablets of many

   different vintages are in use.” DEFENDANTS’ RESPONSE        TO   SUPP. CC BRIEF (Doc. No. 223)

   (“RESPONSE    TO   SUPP. CC BRIEF”) at 2. Thus, if a competitor wished to determine whether a



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   smartphone was “resource constrained,” it would have no guidance as to what year or model

   “desktop computer” it should compare to. See id. Further, Plaintiff provides no guidance as to

   how “limited” the resources must be in comparison or to which computing resources it should be

   applied. Accordingly, the Court rejects Plaintiff’s second final alternative construction.

          ii. The Court’s Construction

          Instead of adopting any of Plaintiff’s proposed constructions, the Court construes “a set

   of resource constraints” as “insufficient amount of memory to run the compiled application

   source program in an unconverted form.” Looking first to the specification, the patents-in-suit

   describe the invention in terms of the execution environment for a Java application called a Java

   Virtual Machine (“JVM”) that interprets byte codes of a compiled Java application loaded onto a

   platform. See ‘317 patent at 1:15-35. The specification explains that “[c]onventional platforms

   that support Java are typically microprocessor-based computers, with access to relatively large

   amounts of memory and hard disk storage space.” Id. at 1: 55-57. These “microprocessor-based

   implementations frequently are used in desktop in personal computers.” Id. at 1:58-59. The

   patentee explained that, in contrast to traditional microprocessor based platforms that “can access

   from a megabyte to a gigabyte of memory,” microcontroller and integrated circuit platforms can

   only access one to sixty-four kilobytes. Id. at 1:66 – 2:10.

          The specification further explains, “[i]n order for a Java application to run on a specific

   platform, a Java virtual machine implementation must be written that will run within the

   constraints of the platform, and a mechanism must be provided for loading the desired Java

   application on the platform, again keeping within the constraints of the platform.” Id. at 1:49-54.

   Further, the specification describes the “constraints of the platform” exclusively in terms of

   reduced memory capacity. See ‘317 patent at 1:55 – 2:10 (describing various types of memory



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   capacity in microcontroller and microprocessor based platforms). Specifically, the specification

   describes the memory capacity of microprocessor based platforms and microcontroller based

   platforms in the context of their capacity for the Java application and the JVM. Id; see also

   supra pp 7-10 (discussing memory capacity of microcontrollers). Thus, the Java application and

   the JVM for interpreting the compiled byte code form of the Java application must be written

   such that they can fit into the available memory of the platform. However, due to the constraints

   of microcontroller and integrated circuit platforms, Java could not fit on the available memory.

   In order to fit a high level programming language onto platforms like microcontrollers and

   integrated circuit cards, the patents-in-suit teach compiling a high level program language before

   converting the compiled programming language into a minimized, i.e., converted, form. Thus,

   the application must be converted in order to fit within the “resource constraints” of the platform.

   It therefore follows that “a set of resource constraints” means “insufficient amount of memory to

   run the compiled application source program in an unconverted form.”

          Additionally, the Court’s construction is supported by the claim language itself. For

   example, claim 65 of the ‘317 patent recites:

          A microcontroller having a set of resource constraints and comprising:
                a memory, and
                an interpreter loaded in memory and operable within the set of resource
                constraints, the microcontroller having: at least one application loaded in
                the memory to be interpreted by the interpreter, wherein the at least one
                application is generated by a programmable environment comprising:
                        a) a compiler for compiling application source programs written in
                        high level language source code form into a compiled form, and
                        b) a converter for post processing the compiled form into a
                        minimized form suitable for interpretation within the set of
                        resource constraints by the interpreter, wherein the converter
                        comprises means for translating from the byte codes in the
                        compiled form to byte codes in a format suitable for interpretation
                        by the interpreter by:
                                b.l) recording all jumps and their destinations in the
                                original byte codes;


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                                       b.2) performing a conversion operation selected from the
                                       group:
                                               b.2.1) converting specific byte codes into equivalent
                                               generic byte codes
                                               b.2.2) modifying byte code operands from
                                               references using identifying strings to references
                                               using unique identifiers; and
                                               b.2.3.) renumbering byte codes in the compiled
                                               form to equivalent byte codes in an instruction set
                                               supported by an interpreter on the integrated circuit
                                               card; and
                                       b.3) relinking jumps for which the destination address is
                                       affected by the conversion operation.

   ‘317 patent at Claim 65 (showing claim as modified by reexamination) (emphasis added). The

   claim lays out an application and an interpreter operating within a set of resource constraints on a

   microcontroller platform. Particularly, step b identifies a “a converter for post processing the

   compiled form into a minimized form suitable for interpretation within the set of resource

   constraints by the interpreter.” This language suggests that a compiled form that is not converted

   into a minimized (or converted) form, is not suitable for interpretation within the set of resource

   constraints by the interpreter.10 In other words, the unconverted or unminimized form of the

   code requires more memory than is available on the microcontrollers and integrated circuits

   described in the patents-in-suit. Accordingly, the Court finds that a “set of resource constraints”

   means “insufficient amount of memory to run the compiled application source program in a

   unconverted form.”

            Defendants argue that “to the extent there could be a definite construction of ‘resource

   constraints,’ it would be in reference to a device that does not have the resources to run programs

   written in a high level language, such as Java, in 1997.” SUPP. RESPONSE at 3. In support,
   10
      All of the asserted claims that include the term “resource constraints” also include “converting” steps. The
   claims identify the result of the “converting” step as either a “minimized form” or a “second intermediate code.”
   Compare ‘317 patent at claim 65; ‘485 patent at claim 7; and ‘727 patent at claim 3 with ‘317 patent at claim 78, 88,
   91 & 92; ‘485 patent at claim 21; and ‘727 patent at claim 17. Nevertheless, the “minimized form” and the “second
   intermediate code” are both the result of the “converting” step, i.e. are “converted forms.”


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   Defendants rely on passages in the specification and the prosecution history purportedly limiting

   the invention to the Java embodiments. Id. (citing, e.g., REEXAM EXCERPTS at GEM4515-16

   (“using Java as an example, providing Java technology onto smart cards would be very

   challenging due to the size constraints of smart cards as contrasted to the minimum requirements

   of Java.”)). While Defendants are correct that the patents-in-suit often describe the problem the

   inventors were attempting to solve in the context of Java or other high level programming

   languages, it does not follow that “resource constraints” must be defined in reference to Java or

   high level programming language. As Defendants themselves point out, the question is what

   resources are required to run a particular program in an unconverted form. See id. at 3 (quoting

   ‘317 patent at 1:55:-59).     Moreover, as explained above in the context of “high level

   programming language,” the claims themselves dictate the execution environment of the claimed

   program applications. Thus, the Court declines to define “resource constraints” with reference to

   Java or a high level programming language.

          Moreover, Defendants argue that the Court’s construction does not provide definite

   “metes and bounds” for the term because it could result in a device having a set of resource

   constraints in reference to one program while not having a set of resource constraints in

   reference to a second program SUPP. RESPONSE at 2. However, as noted above, the point of

   comparison is not between two unrelated programs, but between a “converted” application and

   the “unconverted” form of that same application. Further, the definiteness standard is one of

   reasonableness under the circumstances and a construction need only be as precise as the subject

   matter allows. See, e.g., Orthokinetics, Inc. v. Safety Travel Chairs, Inc., 806 F.2d 1565, 1576

   (Fed. Cir. 1986); Shatterproof Glass Corp., 758 F.2d at 624. Moreover, defining “resource

   constraints” as “insufficient memory to run the compiled application source program in an



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   unconverted form” provides a “workable objective standard” from which a person having

   ordinary skill in the art can determine the scope of the claim. Cf. Datamize, LLC v. Plumtree

   Software, LLC, 417 F.3d 1342, 1351 (Fed. Cir. 2005) (finding the term “aesthetically pleasing”

   indefinite because it failed to provide a “workable objective standard”).

           Lastly, Plaintiff suggests that the Court’s construction is flawed because it focuses on a

   platform’s mere capability to run a program at the exclusion of platforms that may be able to run

   the program, just not “suitab[ly].” See SUPP. BRIEF at 2. However, Plaintiff fails to provide any

   support from the disclosures for a maximizing efficiency of programs on microcontrollers or

   integrate circuits. Instead, as explained above, the patentee focused on microcontrollers’ and

   integrated circuits’ inability to run Java based programming.

   II.     Software Related Terms

           a. “high level language” / “high level programming language”11

         Plaintiff’s Proposed Construction             Defendants’ Proposed Construction
   programing language that must be compiled programming language that must be compiled
   and interpreted before it can be executed by a or interpreted before it can be executed by a
   computer                                       computer

           The dispute between the parties focuses on the term in relation to the program language’s

   execution environment. Defendants argue that the plain and ordinary meaning of “high level

   programming language” permits the programming language to be compiled or interpreted before

   it can be executed by a computer. RESPONSE at 22. Plaintiff appears to concede that, in the

   abstract, a “high level programming language” can be compiled or interpreted before execution;

   however, Plaintiff argues that in the context of the patents-in-suit, “a high level programming

   language” must be compiled and interpreted. See PLAINTIFF’S BRIEF at 4; RESPONSE at 22.


   11
     The term “high level language” or “high level programming language” are found in the ‘317 patent at claims 1, 5,
   31, 35, 64, 65, 84-86, 93, & 94; the ‘485 patent at claims 7, 38, 40, & 42; and the ‘727 patent at claim 3.


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            The parties’ dispute over the proper execution environment is resolved by the claim

   language itself. As Plaintiff points out, every claim of the patents-in-suit is directed towards a

   programming language that is first compiled into a compiled form and then converted into an

   interpreted form. See REPLY at 6. For example, claim 1 of the ‘317 patent requires

            An integrated circuit card… comprising…

            a memory storing:

                   an application derived from a program written in a high level
            programming language format wherein the application is derived from a program
            written in a high level programming language format by first compiling the
            program into a compiled form and then converting the compiled form into a
            converted form...

                    an interpreter operable to interpret such an application derived from a
            program written in a high level programming language format; and a processor
            coupled to the memory, the processor configured to use the interpreter to interpret
            the application for execution and to use the communicator to communicate with
            the terminal.

   ‘317 patent at claim 1 (emphases added). Thus, the claim language itself requires that a high

   level programming language is both compiled and interpreted before execution. This is further

   supported by the specification, which describes high level languages that must be both compiled

   and interpreted. See ‘317 patent at 18:47-64 (“Regardless of the source of the class files, the

   above description applies to languages other than Java to generate codes to be interpreted”)

   (emphasis added). Thus, the Court finds no construction necessary because the claims fully

   identify the execution environment of the high level language program.

            b.   “class file format”12 and “application having a class file format”13

         Term              Plaintiff’s Proposed Construction               Defendants’ Proposed Construction
   12
     The term “class file format” is found in the ‘317 patent at claims 58, 63, 67, & 87; the ‘485 patent at claims 1, 6,
   & 9; and the ‘727 patent at claims 1, 2, & 5.
   13
      The term “application having a class file format” is found in the ‘317 patent at claims 58, 63, &87; the ‘485 patent
   at claims 1, 6, & 9; and the ‘727 patent at claim 1.


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   class file format
                  a file format containing byte codes           a file format containing byte codes
                  that are instructions for a virtual           that are instructions for a hypothetical
                  machine                                       computer or a virtual machine
   application    a program whose compiled form is              No construction necessary.
   having a class in a class file format
   file format

             The parties agree that “class file format” relates to a “file format containing byte codes;”

   however, the parties dispute whether these files contain instructions for a “virtual machine” or a

   “hypothetical computer.” Defendants characterize the dispute as whether byte codes “must be

   executed on a ‘virtual machine’ (Plaintiff) or whether they can be executed on real computers as

   well (Defendants).” RESPONSE at 26.          Defendants argue that “class file format” should be

   construed to permit execution on a “hypothetical computer” because, as a technical matter, byte

   codes may be directly executed by real machines operating Java Optimized processors. The

   Court, however, finds it unnecessary to include either “virtual machine” or “hypothetical

   computer” in its construction of “class file format” because each of the claims clearly specifies

   the execution environment, i.e., that the compiled byte code instructions must be interpreted

   before execution by the processor. See, e.g., ‘317 patent at claim 1 (“an interpreter operatable to

   interpret”). Thus, the Court construes “class file format” as “a file format containing byte

   codes.”

             Plaintiff asks the Court to construe “application having a class file format” as “a program

   whose compiled form is a class file format.” Having construed “class file format”, the Court

   finds further construction unnecessary. Plaintiff’s proposal rewrites the claims which plainly

   describe an “application having class file format” as an application’s form before compiling, i.e.

   when it is written in a high level programming language. For example, claim 58 of the ‘317

   patent recites “a derivative application derived from an application having a class file format

   wherein the application is derived from an application having a class file format by first


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   compiling the application having a class file format into a compiled form.” Similarly, claim 2 of

   the ‘317 patent states that “the high level programming language format comprises a class file

   format.” While Plaintiff may be correct that the specification teaches that “an application [having

   a class file format] is a program written in a high level programming language that – when

   compiled – is compiled into ‘class files containing byte codes,’” that is not what the claims

   recite. PLAINTIFF’S BRIEF at 9. Thus, the Court declines Plaintiff’s invitation to rewrite the

   claims and therefore finds no construction necessary.

            c. “compiling” and “compiled form”14

       Term               Plaintiff’s Proposed Construction Defendants’ Proposed Construction
   compiling             transforming a program written in a transforming a program written in a
                         high level programming language high level programming language
                         into class files containing byte codes from source code to object code or
                                                                byte code
   compiled form         class files containing byte codes      No construction necessary

            The dispute between the parties is whether the term “compiling” should be limited to

   “transforming program source code to byte code” or should also permit transforming program

   source code to “object code.” Plaintiff does not dispute that the plain and ordinary meaning of

   “compiling” includes transforming program code into either object code or byte code; however,

   Plaintiff argues that “compiling,” as disclosed in the specification and claimed in the patents-in-

   suit, is limited to byte code.

            Defendants argue that limiting the result of “compiling” to “class file” embodiments by

   excluding “object code” from the construction of “compiling” is flawed. Defendants primarily

   argue that this (1) imports limitations from the specification into the claims and (2) is directly at

   odds with the claims because “some independent claims that require ‘compiling’ explicitly

   14
     The terms “compiling” or “compiled form” are found in the ’317 patent at claims 1, 31, 64-68, 73, 84-88, & 91-
   94; the ‘485 patent at claims 1, 7-10, 14, 16, 21, 24, & 38-43; and the ‘727 patent at claims 1, 3-6, 10, 12, 17, &
   20.


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   require the inclusion of a ‘class file format,’ but others do not.” RESPONSE at 24. Plaintiff argues

   that “compilers that compile an application programming language into object code are

   transforming the program into codes that are directly executable by a specific computing

   platform and thus are not interpretable by a virtual machine” as required by the claims.

   PLAINTIFF’S BRIEF at 5-6.

          Defendants further argue that the patentee “confirmed” that “‘compiling’ is a term of art

   of Computer Science meaning ‘To transform a program written in a high level programming

   language from source code to object code’” while prosecuting the ‘485 patent. RESPONSE at 24

   (quoting Ex. E. to RESPONSE (Doc. No. 180-5)); see Home Diagnostics, Inc., 381 F.3d at 1356

   (noting that a patentee may define a term during prosecution). The Court is presented with the

   unique situation where Defendants are attempting to hold the patentee to a broad definition of a

   claim term in prosecution, rather than attempting to show “disclaimer.” In this case, the

   applicants defined “compiling” broadly while distinguishing the claimed invention from a piece

   of prior art that did not disclose any form of compiling. Thus, the distinguishing feature of the

   claimed invention was not that it specifically “compiled” source code to object code, but that it

   compiled at all.   To the extent that the prosecution history lends credence to Defendants’

   arguments, it is outweighed by specific language in the claims and the specification describing a

   system for “compiling” program source code into only byte code, not object code. See Phillips,

   415 F.3d at 1314 (“To begin with, the context in which a term is used in the asserted in the claim

   can be highly instructive”).

          The claim language itself describes the compiling operation as one that produces an

   intermediate representation derived from the source code that is thereafter interpreted for

   execution. See, e.g., ‘317 patent at claim 1 (“ . . . a memory storing: an application derived



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   from a program written in a high level programming language format wherein the application is

   derived from a program written in a high level programming language format by first compiling

   the program into a compiled form and then converted the compiled form into a converted form

   …). Thus, the claim language itself limits compiling to intermediate code. The claim language

   does not, however, describe the compiling operation as one that produces an object code that can

   be directly executed. This understanding is reinforced by the specification, which only discusses

   compiling in the context of byte codes.              See, e.g., ‘317 patent at 1:24-34 (“When a Java

   application is written, it is compiled into “Class” files containing byte codes that are instructions

   for a hypothetical computer called a Java Virtual Machine . . . . The Java virtual machine for

   the selected platform is run, and interprets the byte codes in the class file, thus effectively

   running the Java application”) (emphasis added); id. at 18:47-64.

           Lastly, Defendants’ arguments that including “class file format” in the construction of

   “compiling” creates redundancies in the claims is well taken but can be remedied by simply not

   including the phrase “class files.” Thus, the Court finds that the term “compiled,” when read in

   the context of the claims, the specification, and the prosecution history means “transforming

   program source code to byte code.” Construing “compiling” as such captures the meaning of

   “compiling” as disclosed in the patents-in-suit without the risk of adding redundancy by

   including “class files” in the construction. Having construed “compiling,” the Court sees no

   further need to construe “compiled form.”

           d. “converting” and “converted form”15

       Term               Plaintiff’s Proposed Construction Defendants’ Proposed Construction
   converting            post processing the byte codes of the No construction necessary
                         compiled form into a converted form

   15
     The terms “converting” or “converted form” are found in the ‘317 patent at claims 1, 31, 58, 64, 78, 84-88, &
   91-94; the ‘485 patent at claims 1, 21, 38, & 42; and the ’727 patent at claims 1, 10, 17, & 20.


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   converted form     Byte codes interpretable by a No construction necessary
                      different virtual machine than the
                      compiled form

          Plaintiff argues that both “converting” and “converted form” need to be construed to

   prevent Defendants from “improperly expand[ing] the scope of these claims terms . . .          or

   otherwise confus[ing] the jury in support of their validity challenge.” PLAINTIFF’S BRIEF at 9-10.

   Because “the asserted claims make clear that program written in a high level programming

   language is first compiled into byte codes and then converted to converted form,” Plaintiff

   argues that “converting” should be interpreted as “post processing the byte codes from the

   compiled form into a converted form.” Id. at 10. In contrast, Defendants argue that “converting”

   has no special meaning and is readily understandable by a jury in the context of the claims

   themselves. The Court agrees with Defendants.

          In light of the Court’s construction of “compiling” as “transforming program source code

   to byte code,” Plaintiff’s construction merely restates what the claim clearly sets forth. For

   example, inclusion of “postprocessing” is unnecessary because the claims specify that converting

   takes place after compiling. ‘317 patent at claim 1 (“… wherein the application is derived from a

   program written in a high level programming language format by first compiling the program

   into a compiled form and then converting the compiled form into a converted form ….”);

   PLAINTIFF’S BRIEF at 9-10. Thus, Plaintiff is correct that “when read in the context of all the

   claims, it is clear that the ‘converting’ must occur after the generation of byte codes

   (compilation) and is therefore a post-processing step of the byte codes form the compiled form

   into the converted form.” REPLY at 9. However, because the meaning of “converted” is clear

   from the claim language, the Court finds that no construction is necessary.

          Plaintiff seeks to introduce three limitations to “converted form:” (1) “byte codes,” (2)

   “virtual machines,” and (3) the notion that the compiled form be interpretable by a different

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   virtual machine. First, limiting “converted form” to “byte codes” or “virtual machines” runs

   afoul of the doctrine of claim differentiation. While some claims require that the converted form

   be in “byte code” format, other claims do not. Compare ‘485 patent at claim 10 with id. at claim

   14 ((“The microcontroller of claim 10 wherein the compiled form is in a byte code format . . .”).

   Furthermore, some claims require that the converted form be interpreted by a “virtual machine”

   whereas others require the converted form to be interpreted by an “interpreter.” Compare ‘727

   patent at claim 17 with id. at claim 3. Thus, the Court declines to introduce “byte codes” or

   “virtual machine” into the construction of “converted form.”

           Plaintiff’s construction also introduces a limitation that contrasts byte codes of the

   compiled form and byte codes of the converted form by requiring them to be interpreted by

   different virtual machines. As an initial matter, the Court is not persuaded that this contrast

   provides any relevant or meaningful guidance, particularly in light of the Court’s construction of

   “compiling.” Furthermore, as Defendants’ point out, “only six[] of the twenty-four asserted

   independent claims suggest that the compiled form need be ‘interpretable’ at all, let alone the

   compiled form be interpreted by a different virtual machine than the converted form.” RESPONSE

   at 29. Thus, the Court declines to introduce the additional limitations suggested by Defendants.

   Accordingly, the Court finds that “converted form” requires no construction.

           e. “byte codes”16 and “virtual machines”17

         Term        Plaintiff’s Proposed Construction Defendants’ Proposed Construction
   byte codes/byte program instructions interpretable No construction necessary
   code format      by a virtual machine
   virtual machine/ programs used to interpret byte No construction necessary

   16
     The terms “byte codes” or “bye code format” are found in the ‘317 patent at claims 1, 31, 58, 64, 65, 78, 84-88,
   & 91-94; the ‘485 patent at claims 14, 24, & 38-43; and the ‘727 patent at claims 10, & 20.
   17
     The terms “virtual machine” or “intermediate code virtual machine” are found in the ‘317 patent at claims 1, 31,
   58, 64, 65, 78, 84-88, & 91-94; the ‘485 patent at claim 21; and the ‘727 patent at claim 17.


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   intermediate             codes
   virtual machine

              Plaintiff argues that “byte codes” must be construed to assist the trier of fact and avoid

   confusion. Plaintiff draws support for its construction from specific embodiments disclosed in

   the specification that describe “byte codes” as “instructions for a hypothetical computer called a

   Java Virtual Machine.” PLAINTIFF’S BRIEF at 7-8 (quoting ‘317 patent at 1:26-27). Plaintiff

   further argues that because the invention is not limited to a Java virtual machine, “byte codes”

   should only be limited to “program instruction interpreted by a virtual machine.” Id. at 8.

              Defendants argue that that Plaintiff’s construction draws an improper distinction between

   codes executed on a virtual machine and codes executed on a real machine. For Defendants, the

   term “byte codes” is readily understandable to a lay jury, i.e. “byte codes” are “codes” in “byte”

   format that correspond to an instruction for a computer, either real or virtual. RESPONSE at 25.

   While the Court agrees with Defendants that Plaintiff’s construction is overly limiting, the Court

   is of the opinion that a jury would benefit from a construction of “byte codes.” Plaintiff’s attempt

   to insert the type of platform configuration the byte codes are interpreted for execution in is an

   extraneous limitation beyond the mere meaning of the terms themselves. Thus, whether the byte

   code instructions are executed by a real or virtual machine is not a property of the codes

   themselves. Accordingly, the Court construes “byte codes” as “program instructions that are

   interpreted before execution.” Similarly, the Court construes “virtual machine” as “program used

   to interpret byte code.”18 See ‘317 patent at 1:33-35 (“The Java virtual machine . . . interprets

   the byte codes in the class file, thus effectively running the Java Applications”).

              f.   “specific byte code” and “generic byte code”19
   18
        Defendants do not meaningfully contest Plaintiff’s proposed construction for “virtual machine.”
   19
     The term “generic byte codes” or “specific byte codes” is found in the ‘317 patent at claims 1, 31, 58, 64, 65, 78,
   84-87, 91, & 94; the ‘484 patent at claims 14, 24, 39, 41, 43; and the ‘727 patent at claims 10 & 20.


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        Term       Plaintiff’s Proposed Construction Defendants’ Proposed Construction
   specific  byte a byte code with built-in argument smaller byte codes
   code           or operand
   generic   byte a byte code with a separate, larger byte codes for the same
   code           accompanying argument or operand operation

            The parties’ dispute appears to be limited to whether Plaintiff’s use of “argument or

   operand” is likely to confuse a lay jury. See RESPONSE at 29. Defendants argue that their

   constructions “captures the essence of this element” without introducing a potentially confusing

   concept.     Id; REPLY at 10.          However, Defendants do not argue that Plaintiff’s proposed

   constructions are incorrect. The Court finds that Plaintiff’s proposed constructions present a

   more accurate reading of the terms to one of ordinary skill in the art and would be

   understandable to a lay jury. Accordingly the Court construes “specific byte code” as “a byte

   code with a built-in argument or operand” and “generic byte code” as “a byte code with a

   separate, accompanying argument or operand.” See ‘317 patent at 10:40-44 (noting that specific

   byte code such as “ILOAD_0” is replaced with an “argument 0”).

            g. terminal20

         Plaintiff’s Proposed Construction             Defendants’ Proposed Construction
   a device that communicates with the integrated System, external to the microcontroller or ICC
   circuit card or microcontroller                system, that communicates with the
                                                  microcontroller or ICC system

            The essential dispute between the parties is whether the “terminal” must be a system

   separate from the microcontroller or integrated circuit card.                    See PLAINTIFF’S BRIEF at 30;

   RESPONSE at 20-22. For the reasons set forth below, the Court finds that a “terminal” must be

   separate from the microcontroller or the circuit card and therefore construes “terminal” as “a



   20
     The term “terminal” is found in the ‘317 patent at claims 1, 10, 25, 30, 31, 40, 55, 59, 62, 64, 84-86, 93, & 94; and
   the ‘485 patent at claims 2, 38, 40, & 42.


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   system, external to the integrated circuit card or microcontroller, that communicates with the

   ICC or microcontroller.”

            This construction is supported by the specification which consistently recites a terminal

   that communicates with the integrated circuit card, which suggests that the terminal is separate

   from the integrated circuit card. ‘317 patent at 4:59-64. Furthermore, the specification lists

   examples of terminals that are all external to the system that contains the integrated circuit card

   or microcontroller: “Terminals can be automated teller machines (ATMS), point-of-sale

   terminals, door security systems, toll payment systems, access control systems, or any other

   system that communicates with an integrated circuit card or microcontroller.” Id. at 8:15-19.

   Plaintiff relies on this same portion of the ‘317 specification for the argument that “terminals can

   be . . . any other system that communicates with an integrated circuit card or microcontroller.”

   PLAINTIFF’S BRIEF at 30; RESPONSE at 21. However, as Defendants’ highlight, this language

   supports the notion that a terminal is a separate system by emphasizing that terminals can be any

   other systems, i.e. not the same system. Accordingly, the Court construes terminal as “a system,

   external to the integrated circuit card or microcontroller, that communicates with the integrated

   circuit card or microcontroller.”

   III.     Means Plus Function Claims

            a. attributes21

         Plaintiff’s Proposed Construction                           Defendants’ Proposed Construction
   This term does not need construction. To the                 Data structures having the following general
   extent that the term is construed, it should be              format:
   given its plain and ordinary meaning, such as:               attibute_info {
   information in a class file                                  u2 attribute_name_index;
                                                                u4 attribute _length;
                                                                u1 info[attribute_length];

   21
     The term “terminal” is found in the ‘317 patent at claims 1, 10, 25, 30, 31, 40, 55, 59, 62, 64, 84-86, 93, & 94; and
   the ‘485 patent at claims 2, 38, 40, & 42.


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                                                               }

            The essential dispute between the parties is whether the term “attributes” should be

   construed as part of a means-plus-function element. See RESPONSE at 30. Claim 66 reads: “The

   microcontroller of claim 65, wherein the compiled form includes attributes, and the converter

   comprises a means for including attributes required by the interpreter while not including the

   attributes not required by the interpreter.” ‘317 patent at claim 66. Because the term “attributes”

   is introduced before the means-plus-function limitation in claim 66, it is not part of the means-

   plus-function limitations. Accordingly, the Court declines to adopt Defendants’ construction

   limiting “attributes” to the specific structure disclosed in the specification. One of ordinary skill

   in the art would understand that in the Java programming language, one of the basic sections in a

   class file is “attributes,” which give general information about the particular class defined by the

   file. Accordingly, the Court construes “attributes” as “information in a class file.”

            b. “means for translating …”22

            The parties agree that “means for translating” is a means-plus-function element governed

   by 35 U.S.C. § 112 ¶ 6 but disagree over what constitutes the function. Plaintiff argues that the

   function is “means for translating from the byte codes in the compiled form to byte code in a

   format suitable for interpretation by the interpreter,” and the remainder of the claim, steps b.1

   through b.3 recite the structure. Defendants, on the other hand, argue that the recited function

   encompasses steps b.1. through b.3. As will be explained in more detail below, the Court finds

   that the “means for translating” terms are not “means-plus-function” terms governed by 112 ¶ 6

   because the claims recite the complete structure for “means for translating.”



   22
    The entirety of the disputed “means for translating” terms and the parties’ proposed constructions are set forth in
   Appendix A to this Order.


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             As an initial matter, although the parties agree to a particular claim construction, the

   Court is not obligated to accept a construction that is contrary to law. See Rodime PLC v.

   Seagate Tech., Inc., 174 F.3d 1294, 1302 (Fed. Cir. 1999) (noting that a party’s concession that a

   term is governed by §112 ¶ 6 does not relieve the court of its responsibility to interpret the claims

   as a matter of law). Moreover, it is bedrock law that “[m]eans-plus-function claiming applies

   only to purely functional limitations that do not provide the structure that performs the recited

   function.” Phillips, 415 F.3d at 1311 (citing Watts v. XL Sys. Inc., 232 F.3d 877, 880-81

   (Fed.Cir.2000)). Although there is a rebuttable presumption that § 112 ¶ 6 applies “[i]f the word

   ‘means’ appears in a claim element in association with a function,” that presumption does not

   apply where the claim language itself provides the structure that performs the recited function.

   Micro Chem., Inc. v. Great Plains Chem., Co., 194 F.3d 1250, 1257 (Fed. Cir. 1999) (citations

   omitted); see also Callicrate v. Wadsworth Mfg., Inc., 427 F.3d 1361, 1368 (Fed. Cir. 2005)

   (same).     Thus, “where a claim recites a function, but then goes on to elaborate sufficient

   structure, material, or acts within the claim itself to perform entirely the recited function, the

   claim is not in means-plus-function format.” Sage Products, Inc. v. Devon Indus., Inc., 126 F.3d

   1420, 1427-28 (Fed. Cir. 1997) (citing Cole v. Kimberly-Clark Corp., 102 F.3d 524 (Fed. Cir.

   1996)).

             With respect to computer-implemented inventions, i.e. software based inventions, the

   Federal Circuit has been particularly cautious to avoid purely functional claiming. See Aristocrat

   Techs. Australia Pty Ltd. v. Int’l Gaming Tech., 521 F.3d 1328, 1333 (Fed. Cir. 2008) (“Because

   general purpose computers can be programmed to perform very difference tasks in very different

   ways, simply disclosing a computer as the structure designed to perform a particular function

   does not . . . [comply with] section 112 paragraph 6”); Altiris, Inc. v. Symantec Corp. 318 F.3d



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   1363, 1376 (Fed. Cir. 2003) (noting that the term “commands” is equivalent to “software” which

   does not connote adequate structure). As a result, the patentee is required to disclose adequate

   structure in the form of an algorithm. See Aristocrat Techs. Australia Pty Ltd., 521 F.3d at 1333

   (finding an algorithm adequate structure for a computer implemented means-plus-function

   limitation). The corresponding structure to a computer implemented “means for” term may be

   disclosed in the form of a step-by-step procedure for implementing the recited function as an

   algorithm, in prose, or in flow-chart form. See Ergo Licensing, LLC v. CareFusion 303, Inc.,

   673 F.3d 1361, 1365 (Fed. Cir. 2012) (citing Typhoon Touch Tech., Inc. v. Dell, Inc., 659 F.3d

   1376, 1385 (Fed. Cir. 2011)).

            In this case, the disputed term, “means for translating” is presumed to be governed by §

   112 ¶ 6 because it uses the phrase “means for.” As shown below, “means for” is immediately

   followed by a clearly defined function, “translating from the byte codes in the compiled form to

   byte codes in a format suitable for interpretation by the interpreter.” The claim language signals

   the end of the recited function and beginning of the structure of the term by the word “by:” 23

            A microcontroller having a set of resource constraints operable within the set of resource
            constraints and comprising:
                   A memory, and
                   An interpreter loaded in memory and operable within the set of resource
                   constraints, the microcontroller having: at least one application loaded in the
                   memory . . . wherein the at least one application is generated by a programmable
                   environment comprising:
                   (a) A compiler . . .
                   (b) A converter . . . wherein the converter comprises means for translating from
                        the byte codes in the compiled form to byte codes in a format suitable for
                        interpretation by the interpreter by:
                            b.1) recording all jumps and their destinations in the original byte
                            codes;
   23
     The Court notes that the recited steps are not identical in all three iterations of the “means for translating” claims.
   However, all three iterations of the “means for translating” claims include the word “by” signifying the end of the
   recited function and the beginning of the recited structure. See ‘727 patent at claim 10; ‘485 at claim 14.
   Moreover, both the other “means for translating” claims patent recite complete algorithms as a series of steps. They
   differ only in their numbering.


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                             b.2) performing a conversion operation selected from the group:
                                     b.2.1) converting specific byte codes into equivalent generic
                                     byte codes;
                                     b.2.2) modifying byte code operands from references using
                                     identifying strings to references using unique identifiers; and
                                     b.2.3.) renumbering byte codes in the compiled form to
                                     equivalent byte codes in an instruction set supported by an
                                     interpreter on the integrated circuit card; and
                             b.3) relinking jumps for which the destination address is affected by
                             the conversion operation.

   ‘317 patent at claim 65.

           Thus, the claims recite a structurally complete “means for translating” because they recite

   a “programmable environment”24 and include all the necessary algorithmic steps to perform the

   “means for translating” function. One of ordinary skill in the art would understand

   “programmable environment” as including a processor for executing commands or instructions.

   Specifically, while not explicitly reciting a “processor” for performing the recited steps of the

   “means for translating” limitation, the claims clearly contemplate a “programmable

   environment” that includes a processor for executing the “compiler” and the “converter” where

   the “converter” includes the “means for translating.” See, e.g., ‘317 C1 patent at 3:45 (claim 65)

   (“a converter for post processing”).

           The patentee’s recitation of a step-by-step procedure for performing the “means for

   translating” function, i.e., steps b.1 through b.3, provides even greater detail and clarity than the

   algorithm found sufficient in Typhoon Touch Technologies. In Typhoon Touch Technologies v.

   Dell, Inc., the Federal Circuit found that the specification adequately disclosed the structure for

   the term “means for cross-referencing.” 659 F.3d at 1386. Specifically, the Court found that the

   patent’s recitation of “‘[c]ross-referencing entails the matching of entered responses with a

   library of possible responses, and, if a match is encountered, displaying the fact of the match,

   24
     The ‘485 patent and the ‘727 patent recite a “programming environment,” which also necessarily includes a
   processor. See ‘485 patent at claim 7; ‘727 patent at claim 3.

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   otherwise alerting the user, or displaying information stored in memory fields associated with the

   library entry”’ was sufficient structure under §112 ¶ 6. In this case, the claim clearly lays out

   steps b.1 through b.3 for performing the recited function that are executed by implied processor

   in the programmable environment and therefore recite adequate structure. See Aristocrat Tech.

   Australia Pty Ltd., 521 F.3d at 1338 (quoting WMS Gaming, Inc. v. Int’l Gaming Tech., 184 F.3d

   1339, 1349 (Fed. Cir. 1999) (patentee was required to “disclose the algorithm that transforms the

   general purpose microprocessor to a ‘special purpose computer programmed to perform the

   disclosed algorithm.’”); cf. Altiris, Inc., 318 F.3d at 1376 (rejecting plaintiff’s argument that

   “commands” provided sufficient structure “because ‘commands’ (i.e., software) is so broad as to

   give little indication of the particular structure used here and is described only functionally, one

   must still look to the specification for an adequate understanding of the structure of that

   software.”).

          Indeed, Plaintiff requests the Court to hold that “the corresponding structure is a

   computer programmed to perform the algorithm/steps explicitly set forth in the claims.” Id. at

   24.   However, as noted above, if the corresponding structure is set forth in the claims as

   advocated by Plaintiffs, the claim term cannot fall under § 112 ¶ 6 and is therefore not a “means-

   plus-function” claim. See Cole v. Kimberly-Clark Corp., 102 F.3d 524, 531 (Fed. Cir. 1996)

   (“To invoke this statute [§112 ¶ 6], the alleged means-plus-function claim element must not

   recite a definite structure which performs the described function.”). Thus, for the reasons stated

   above, the Court finds that “means for translating” is not a means-plus-function term governed

   by §112 ¶ 6.     Beyond that finding, however, the Court declines to construe “means for

   translating.”

                                            CONCLUSION



                                                   40
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                      .

         For foregoing reasons, the Court adopts the constructions set forth above.




                     So ORDERED and SIGNED this 28th day of June, 2012.




                                              ___________________________________
                                                         JOHN D. LOVE
                                              UNITED STATES MAGISTRATE JUDGE




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                                                                  Appendix A

Disputed Term                 Plaintiff’s Proposed                  Defendants’ Proposed   Court’s Construction
                              Construction                          Construction
means for translating         This limitation is governed by §      Indefinite             This limitation is not governed by §
from the byte codes in        112, ¶ 6.                                                    112 ¶ 6.
the compiled form to          RECITED FUNCTION:
byte codes in a format        translating from the
suitable for interpretation   byte codes in the compiled form to
by the interpreter by:        byte codes in a
b.1) recording all jumps      format suitable for interpretation by
and their destinations in     the interpreter
the original byte codes;      CORRESPONDING
b.2) performing a             STRUCTURE: computer
conversion operation          programmed to perform the
selected from the group:      algorithm of:
b.2.1) converting specific    b.1) recording all jumps and their
byte codes into               destinations in the original byte
equivalent generic byte       codes;
codes;                        b.2) performing a conversion
b.2.2) modifying byte         operation selected from the group:
code operands from            b.2.1) converting specific byte
references using              codes into equivalent generic byte
identifying strings to        codes;
references using unique       b.2.2) modifying byte code
identifiers; and              operands from references using
b.2.3.) renumbering byte      identifying strings to references
codes in the compiled         using unique identifiers; and
form to equivalent byte       b.2.3.) renumbering byte codes in
codes in an instruction       the compiled form to equivalent
set supported by an           byte codes in an instruction set
interpreter on the            supported by an interpreter on the
integrated circuit card;      integrated circuit card; and

                                                                        42
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Disputed Term                 Plaintiff’s Proposed                    Defendants’ Proposed   Court’s Construction
                              Construction                            Construction
and                           b.3) relinking jumps for which the
b.3) relinking jumps for      destination address is affected by
which the destination         the conversion operation.
address is affected by the    Alternatively, should the Court
conversion operation.         conclude that the algorithm steps
                              are part of the recited function,
’317 Patent, Claim 65         rather than the corresponding
                              structure as Gemalto proposes,
                              Gemalto identifies the following
                              portions of the specification as part
                              of the
                              corresponding structure for those
                              steps:
                              “recording” step: column 10:16-17,
                              22-26;
                              “converting specific” step: column
                              10:35-44;
                              “modifying” step: column 10:52-
                              54, 57-61;
                              “renumbering” step: column 11:4-
                              10, 18-23;
                              “relinking” step: column 11:36-41.
means for translating         This limitation is governed by §        Indefinite             This limitation is not governed by §
from the byte codes in        112, ¶ 6.                                                      112 ¶ 6.
the compiled form to          RECITED FUNCTION:
byte codes in a format        translating from the byte codes in
suitable for interpretation   the compiled form to byte codes in
by the interpreter by:        a format suitable for interpretation
using at least one step in    by the interpreter
a process including the       CORRESPONDING


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Disputed Term                    Plaintiff’s Proposed                       Defendants’ Proposed                    Court’s Construction
                                 Construction                               Construction
steps:                           STRUCTURE: computer
a) recording all jumps           programmed to perform the
and their destinations in        algorithm of:
the original byte codes;         using at least one step in a process
b) converting specific           including the steps:
byte codes into                  a) recording all jumps and their
equivalent generic byte          destinations in the original byte
codes or viceversa;              codes;
c) modifying byte code           b) converting specific byte codes
operands from references         into equivalent generic byte codes
using identifying strings        or viceversa;
to references using              c) modifying byte code operands
unique identifiers; and          from references using identifying
d) renumbering byte              strings to references using unique
codes in the compiled            identifiers; and
form to equivalent byte          d) renumbering byte codes in the
codes in the format              compiled form to equivalent byte
suitable for                     codes in the format suitable for
interpretation;                  interpretation;
and relinking jumps for          and relinking jumps for which
which destination address        destination address is effected by
is effected by conversion        conversion step a), b), c), or d)
step a), b), c), or d)           Alternatively, should the Court
                                 conclude that the algorithm steps
’485 Patent, Claim 1425          are part of the recited function,
                                 rather than the corresponding
                                 structure as Gemalto proposes,
                                 Gemalto identifies the following
                                 portions of the specification as part

   25
        Claim 14 depends on Claim 10 which depends on Claim 7 which recites an application “generated by a programming environment.”

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Disputed Term                 Plaintiff’s Proposed                 Defendants’ Proposed   Court’s Construction
                              Construction                         Construction
                              of the corresponding structure for
                              those steps:
                              “recording” step: column 10:16-17,
                              22-26;
                              “converting specific” step: column
                              10:35-44;
                              “modifying” step: column 10:52-
                              54, 57-61;
                              “renumbering” step: column 11:4-
                              10, 18-23;
                              “relinking” step: column 11:36-41.
means for translating         This limitation is governed by §     Indefinite             This limitation is not governed by §
from the byte codes in        112, ¶ 6.                                                   112 ¶ 6.
the compiled form to          RECITED FUNCTION:
byte codes in a format        translating from the byte codes in
suitable for interpretation   the compiled form to byte codes in
by the interpreter by:        a format suitable for interpretation
recording all jumps and       by the interpreter
their destinations in the     CORRESPONDING
original byte codes:          STRUCTURE: computer
converting the compiled       programmed to perform the
form using at least one       algorithm of recording all jumps
step in a process             and their destinations in the
including the steps:          original byte codes:
a) converting specific        converting the compiled form using
byte codes into               at least one step in a process
equivalent generic byte       including the steps:
codes or viceversa;           a) converting specific byte codes
b) modifying byte code        into equivalent
operands from references      generic byte codes or vice versa;


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Disputed Term                    Plaintiff’s Proposed                       Defendants’ Proposed                    Court’s Construction
                                 Construction                               Construction
using identifying                b) modifying byte code operands
strings to references            from references
using unique identifiers;        using identifying strings to
and                              references using unique
c) renumbering byte              identifiers; and
codes in the compiled            c) renumbering byte codes in the
form to equivalent byte          compiled form to
codes in the format              equivalent byte codes in the format
suitable for                     suitable for
interpretation; and              interpretation; and relinking jumps
relinking jumps for              for which destination address is
which destination address        effected by conversion step a), b),
is effected by                   or c)
conversion step a), b), or       Alternatively, should the Court
c)                               conclude that the
                                 algorithm steps are part of the
’727 Patent, Claim 1026          recited function, rather than the
                                 corresponding structure as Gemalto
                                 proposes, Gemalto identifies the
                                 following
                                 portions of the specification as part
                                 of the corresponding structure for
                                 those steps:
                                 “recording” step: column 10:16-17,
                                 22-26;
                                 “converting specific” step: column
                                 10:35-44;
                                 “modifying” step: column 10:52-
                                 54, 57-61;

   26
        Claim 10 depends on Claim 6 which depends on Claim 3 which recites an application “generated by a programming environment.”

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Disputed Term          Plaintiff’s Proposed                 Defendants’ Proposed   Court’s Construction
                       Construction                         Construction
                       “renumbering” step: column 11:4-
                       10, 18-23;
                       “relinking” step: column 11:36-41.




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